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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

St. John, et al.,                                   )
                                                    )
                              Plaintiffs,           )
                                                    )
                              v.                    )       Civil Action No. 23-cv-02333
                                                    )
The Islamic Republic of Iran, et al.,               )
                                                    )
                              Defendants.           )

                       PLAINTIFFS’ NOTICE OF FAILED SERVICE

         NOW COME Plaintiffs, by and through counsel, to notify this Honorable Court that

 efforts to serve the Islamic Republic of Iran (“Iran”), the Islamic Revolutionary Guard Corp

 (“IRGC”), and the Iranian Ministry of Intelligence and Security (“MOIS,” collectively the

 “Iranian Defendants”), have failed pursuant to 28 U.S.C. § 1608(a)(3).

        On October 10, 2023, the Clerk filed a Certificate of Service dispatching service on the

Iranian Defendants by FedEx via air waybill requiring signed receipt upon delivery. See ECF 20.

        Having made a diligent and thorough effort to effectuate service upon the Iranian

defendants pursuant to 28 U.S.C.§ 1608(a)(3), more than 30 days have passed as required under

the statute. Therefore, the Plaintiffs now intend to proceed to initiate service of process on the

Iranian Defendants under 28 U.S.C. § 1608(a)(4) and shall file the appropriate materials with the

Clerk requesting assistance as required.




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Dated:    November 15, 2023           Respectfully submitted,
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                               CERTIFICATE OF SERVICE

I hereby certify that on November 15, 2023, a true and correct copy of the foregoing Plaintiffs’
Notice of Failed Service was filed electronically with the Clerk of Court using the CM/ECF system
which will send a notification of such filing on all counsel of record.

/s/ Gavriel Mairone__
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